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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

  TROYCE MANASSA and                     )
  AUSTIN DASENT                          )
                                         )
                       Plaintiffs,       )
                                         )
                v.                       )              No. 1:20-cv-03172-RLY-MJD
                                         )
  NATIONAL COLLEGIATE ATHLETIC           )
  ASSOCIATION,                           )
                                         )
  Defendant.                             )
  ______________________________________ )

          [PROPOSED] STIPULATION AND ORDER REGARDING DISCOVERY OF
          ELECTRONICALLY STORED INFORMATION (“ESI”) AND HARD COPY
                               DOCUMENTS

  I.        GENERAL GUIDELINES

            1.   General. The purpose of this Order is to facilitate the exchange of ESI and hard

  copy documents in accordance with the Federal Rules.

            2.   Scope. Except as specifically set forth herein, this Order does not: (a) alter or

  affect the applicability of the Federal Rules of Civil Procedure (“Federal Rules”) or any Local

  Rules of the Southern District of Indiana (“Local Rules”), as applicable; (b) address, limit,

  determine, or affect the relevance, discoverability, or admissibility as evidence of any document

  or ESI, regardless of whether the document or ESI is to be preserved, is preserved, or is

  produced; or (c) alter or affect the objections to discovery available under the Federal Rules.

            3.   Limitations and Non-Waiver. By stipulating to this Order and agreeing to

  produce documents, generally, in a particular form or forms, no party waives any objections to

  producing any particular document or category of documents on any grounds whatsoever.




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            4.   Variations. If any Party1 identifies a circumstance where application of this Order

  is not reasonably feasible, the Party will disclose to the Party requesting the ESI or hard copy

  documents (“Requesting Party”) the reason(s) for, and circumstances surrounding, the need to

  vary from this Order, and the Parties will meet and confer in an effort to reach agreement on an

  appropriate deviation from this Order. In the event the Parties cannot reach agreement, the matter

  may be submitted to the Court for determination.

            5.   Cooperation. The Parties are aware of the importance the Court places on

  cooperation, and commit to cooperate in good faith throughout the matter consistent with their

  obligations under the Federal Rules, in particular Rule 1.

  II.       IDENTIFICATION AND COLLECTION OF DOCUMENTS AND ESI

            6.   Custodians and Sources. Within 14 days of the date of this order, the Parties will

  meet and confer and exchange information regarding the following: (a) the identity and role

  (including dates of employment) of custodians from which documents and ESI may be or has

  been obtained for production; (b) the identity, scope, and format of custodial and non-custodial

  sources from which documents and ESI may be obtained for production; (c) the identity and

  scope of sources of documents and ESI that may be produced without the use of technology

  assisted review or search terms; (d) applicable timeframe(s) for collection and review of

  documents and ESI; and (e) prioritization of categories of documents and ESI that may be

  collected, reviewed, and produced, if applicable. Where applicable, sources of Documents, on

  which the parties will meet and confer, include, but are not limited to, computers, laptops, local

  hard drives, file servers, databases, SANs, NASs, email servers, web servers, network home or


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    “Party” is defined as Plaintiffs and Defendant. The Party requesting the ESI or hard copy
  documents is the “Requesting Party.” The Party or Non-Party producing the requested materials
  is the “Producing Party.”

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  personal file shares, any shared drives, document management systems (DMS), record

  management systems (RMS), content management systems (CMS),

  departmental/project/collaborative/shared storage spaces, removable storage, on-line data storage

  (e.g., Dropbox or Google Drive), messaging applications and programs, phones, tablets, social

  media, and physical or hard copy files and documents.

            7.   Known Responsive ESI Must Be Produced. Reasonably accessible documents

  or ESI known to be responsive to a discovery request shall be produced without regard to

  whether it was responsive to any search methodology described herein or developed in

  accordance with this Order. The parties understand their obligation to diligently investigate and

  search for responsive ESI independent of this Protocol. Pursuant to Federal Rule of Civil

  Procedure 34(b)(2)(C), an objection must state whether any responsive materials are being

  withheld on the basis of that objection. An objection to part of a request must specify the part

  and permit inspection of the rest. If a Producing Party is aware of inaccessible data that is likely

  to contain unique, discoverable ESI, it will identify the source from which it claims the data is

  not reasonably accessible.

            8.   Search Methodology. If the Producing Party is filtering documents to eliminate

  collected documents from review, the Parties will meet and confer about search and filtering

  methodologies and parameters and will use their reasonable best efforts to reach agreement. That

  discussion will also include methods for search validation and testing. The Producing Party will

  propose a list of search terms and/or date filters it proposes to use to eliminate collected

  documents for review, and the Receiving Party may propose additional parameters. The Parties

  shall participate in a cooperative approach and agree to meet and confer regarding the search




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  protocol and to raise any disputes regarding the search protocol and/or search terms for

  resolution by the Court.

            9.    Use of Predictive Coding or Other Search Technologies. If a party intends to

  use predictive coding (including technology-assisted review or “TAR”2) in connection with its

  document collection or review for production, the party will disclose such intent to the Receiving

  Party in connection with the discussion about Search Methodology and the Parties will meet and

  confer regarding an appropriate protocol.

            10.   Unsearchable Documents. Documents which are reasonably believed to be

  responsive to discovery requests and not subject to objections and for which text-based search

  technologies are fundamentally ineffective must be reviewed without culling by search terms,

  predictive coding, or other technologies that rely primarily on text.

            11.   Continuing Obligations. The Parties recognize that discovery shall be an

  iterative and cooperative process. The Parties will continue to meet and confer regarding any

  issues as necessary and appropriate. This Order does not address or resolve any objections to the

  scope of the Parties’ respective discovery requests.

            12.   Reservation of Rights. Upon reviewing any production made by another Party in

  this action or conducting other investigation and discovery, any Receiving Party may request that

  documents from additional non-custodial data sources and custodians be produced, or request to

  reassess or confer regarding the parameters used for document collection, search, review and

  validation process, and any Producing Party may object to such requests.


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    “Technology-assisted review” is defined as “A process for prioritizing or coding a collection of
  electronically stored information using a computerized system that harnesses human judgments
  of subject-matter experts on a smaller set of documents and then extrapolates those judgments to
  the remaining documents in the collection.” The Sedona Conference Glossary: eDiscovery and
  Digital Information Management, Fifth Edition, 21 SEDONA CONFERENCE J. 263 (2020).

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  III.      FORM OF PRODUCTIONS

            13.   ESI File Types and Formats. All unredacted spreadsheet (e.g., Microsoft Excel,

  Corel Quattro, etc.) files; files with all media files, such as audio and video files (e.g., .wav,

  .mpeg, and .avi) files, shall be produced as native files with TIFF placeholder images. The

  parties agree to make reasonable best efforts to produce documents containing tracked changes

  and/or comments as native files with TIFF placeholder images. A party may seek other

  document types in native format on a showing of good cause. Emails and all other documents

  shall be produced as TIFFs. If documents cannot be produced in a readable format in TIFF, the

  Producing Party will produce them in a reasonably useable format.

            14.   Metadata. The metadata fields detailed in Appendix A should be produced for

  each document to the extent that such information is available at the time of collection and

  processing, except that if a field contains privileged information, attorney work product, or

  information otherwise protected from disclosure, that information may be redacted and any

  redacted information must be noted in a corresponding privilege/redaction log, as described in

  Section V below. The producing party must populate, where possible, the (a) BegBates,

  (b) EndBates, (c) BegAttach, (d) EndAttach, (e) Custodian, (f) NativeFileLink, (g) TextPath,

  (h) Redaction status, and (i) Confidentiality designation fields. These fields should be populated

  for all produced ESI, as well as paper Documents converted to electronic form, regardless of

  whether the fields can be populated pursuant to an automated process. Other than paper

  Documents converted to electronic form, ESI shall be processed in a manner that preserves the

  source native file and relevant metadata without modification, including their existing time and

  date metadata consistent with the requirements provided in this Order.




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            15.   Native Files. Native files shall be given a file name consisting of a unique Bates

  number and, if applicable, a confidentiality designation; for example,

  “NCAA00000002_Confidential.” For each native file produced for which a TIFF rendering of

  the document is not produced, the production will include a *.tiff image slipsheet indicating the

  production number of the native file and the confidentiality designation, and stating “File

  Provided Natively.” To the extent that it is available, the original document text shall be

  provided in a document-level UTF-8 text file with a text path provided in the *.dat file;

  otherwise the text contained on the slipsheet language shall be provided in the *.txt file with the

  text path provided in the *.dat file. Native files will be produced in a separate folder on the

  production media.

            16.   Production Format for Hard Copy Documents. Documents that exist in

  hardcopy will be scanned to *.tiff image format and produced with a load file, single page TIFF

  images in the same format as electronic files, except the metadata fields provided will be limited

  to in accordance with the specifications set forth on Appendix A. Also, instead of extracted text,

  OCR text will be provided, if reasonably available, for scanned hard copy documents. In

  scanning paper documents, the parties will take reasonable efforts to identify and logically

  unitize3 obviously distinct documents. If OCR is not reasonably available, the parties shall meet

  and confer about the method of production. If documents were scanned previous to this case,

  however, and are not logically unitized, they may be produced in the format in which they were

  maintained. In the case of an organized compilation of separate documents (for example, a



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   Logical Unitization is the process of human review of each individual page in an image collection
  using logical cues to determine pages that belong together as documents. Such cues can be
  consecutive page numbering, staples, clips, binders, report titles, similar headers and footers, and
  other logical indicators.

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  binder containing several separate documents behind numbered tabs), the document behind each

  tab should be scanned separately. Where a Document or group of Documents has an

  identification spine, “post-it note,” or any other label, the information on the label shall be

  scanned and, to the extent not privileged, produced.

            17.   TIFF Images. Documents produced with TIFF images shall be named according

  to the Bates number of the corresponding TIFF image. Each *.tiff file should be assigned a

  unique name matching the Bates number of the corresponding image. All TIFF images should be

  provided in single-page, Group IV TIFF with a resolution of 300 DPI. Bates numbers and

  confidentiality designations should be electronically branded on each produced *.tiff image.

  These *.tiff images should be provided in a separate folder and the number of TIFF files per

  folder should be limited to 1,000 files. Original document orientation as displayed in the native

  file should be maintained in the TIFF image (i.e., portrait to portrait and landscape to landscape).

            18.   Databases, Structured, Aggregated, or Application Data. The Parties will

  produce documents collected from databases or other structured databases in a reasonably

  useable format. The Parties will meet and confer to address the production and production format

  of any responsive data contained in a database or other structured or aggregated data source if the

  Producing Party cannot produce the data in a reasonably useable format.

            19.   Non-English Documents. To the extent that documents are produced that contain

  languages other than English, in whole or in part, the Producing Party shall produce each such

  document in the original language or languages in which it was written when collected. The

  Producing Party has no obligation to create a translation of the documents or any portion thereof

  for the purposes of production in this litigation, but if one already exists, it must also be

  produced along with the original, with a notation identifying it as such.




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            20.       Mobile and Handheld Device Documents and Data. If non-duplicative

  responsive data contained on a mobile or handheld device that can reasonably be extracted is

  identified throughout the discovery process, that data shall be produced in accordance with this

  Order. To the extent that non-duplicative, responsive data identified on a mobile or handheld

  cannot be produced in a reasonably useable format, the Parties will meet and confer to address

  the identification, production, and production format of any non-duplicative, responsive

  documents and data contained on any mobile or handheld device.

            21.       Compressed and Encrypted Files. Compressed file types (i.e., .CAB, .GZ, .TAR

  .Z, .ZIP) shall be decompressed in a reiterative manner to ensure that a compressed files are

  decompressed into the lowest possible compression resulting in individual files. The Producing

  Party will take reasonable steps, prior to production, to unencrypt any discoverable electronically

  stored information that exists in encrypted format (e.g., password-protected) and that can be

  reasonably unencrypted.

            22.       Printing Specifications for Excel PowerPoint and Adobe PDF Files. For Excel

  PowerPoint and Adobe PDF type files that are printed to TIFF for redaction and redacted, the

  following printing options shall be enabled:

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                                       Excel Print to TIFF Options
                 x   Unhide columns and rows
                 x   Unhide worksheets
                 x   Autofit columns and rows, settings to be over by columns first and, then down by
                     rows
                 x   Wrap text
                 x   Print gridlines
                 x   Do not apply Autofilter
                 x   Display headings
                 x   Display comments
                 x   Header and Footer filename field handling: Show field code



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                                           PowerPoint Print to TIFF Options
                 x   Print notes pages
                 x   Print hidden slides
                 x   Print comments

                                              Adobe Print to TIFF Options
                 x   Print all sticky notes
                 x   Print all comments


            23.       De-NISTing. The producing party shall take reasonable efforts to de-NIST ESI

  productions using the industry standard list of such files maintained in the National Software

  Reference Library by the National Institute of Standards & Technology. De-NISTED files need

  not be produced.

            24.       Deduplication. ESI produced by the Parties may be globally de-duplicated across

  all collected custodial and non-custodial sources using MD5 hash or SHA-1 hash. Documents are

  considered exact duplicates if a document family or stand-alone file has a matching MD5 or

  SHA-1 hash value as compared against the same document type (i.e., family or stand-alone file).

  Near-duplicate documents shall not be removed. De-duplication shall not break apart families

  and shall be performed at a family level. A document and all other documents in its attachment

  range, emails with attachments and files with extracted embedded OLE documents all constitute

  family groups. If any member of a family group is produced, all members of that group must be

  also be produced (or logged for privilege) and no such member shall be withheld from

  production as a duplicate. The names of all custodians and non-custodial sources who were in

  possession of a document prior to deduplication will be populated in the ALL CUSTODIANS

  metadata field. The original folder paths of a document prior to deduplication will be populated

  in the ALL FOLDER PATHS metadata field. Should the ALL CUSTODIANS or ALL FOLDER

  PATHS metadata fields produced become outdated due to rolling productions, an overlay file


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   providing all the custodians and folder paths for the affected documents will be produced prior to

   substantial completion of the document production. The Producing Party agrees that the presence

   of a custodian’s name contained in the “AllCustodian” field in the metadata for a particular

   document is evidence that the custodian possessed that document in his/her custodial file.

             25.   Email Threading. The parties will not produce email as threads and will instead

   produce each email within a thread.

             26.   Embedded Files. To the extent reasonably possible, embedded files are to be

   produced as family groups. Embedded files should be assigned Bates numbers that directly

   follow the Bates numbers on the documents within which they are embedded.

             27.   Collaboration Tools. The parties agree to produce the latest in time version of

   documents stored on a collaboration or document management tool. To the extent the receiving

   party desires to receive previous versions of documents, if any, the receiving party will identify

   the document(s) with specificity and the parties will engage in a meet and confer process relating

   to the same.

             28.   Dynamic Fields. If reasonably feasible, documents with dynamic fields for file

   names, dates, and times will be processed to show the field code (e.g., “[FILENAME]”), rather

   than the values for such fields existing at the time the file is processed.

             29.   Parent-Child Relationships. For email families, the parent-child relationships

   (e.g., the association between an attachment and its parent email, or a spreadsheet embedded

   within a word processing document) should be preserved. All nonprivileged email attachments

   should be, where reasonably possible, consecutively produced with the parent email record. For

   example, if a party is producing an email with embedded attachments or hyperlinked documents,




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   the attachments or hyperlinked documents must be processed and assigned Bates numbers in

   sequential order, following consecutively behind the parent email.

             30.   Bates Numbering. Bates numbering should be consistent across the production,

   contain no special characters, and be numerically sequential within a given document. The

   producing party will identify the Bates number range of each production in a cover letter or

   production log accompanying the production. If a producing party skips a Bates number or set of

   Bates numbers in a production, the producing party will identify and note the gap in the cover

   letter or production log accompanying the production. All attachments to documents will be

   assigned Bates numbers that directly follow the Bates numbers on the documents to which they

   were attached. In addition, wherever possible, each *.tiff image will have its assigned Bates

   number electronically “burned” onto the image. If the Receiving Party believes that a Bates

   number obscures the content of a Document, then the Receiving Party may request that the

   Document be produced with the Bates number in a different position.

             31.   Excluded File Types. Absent a particularized need and good cause showing, the

   Parties agree that there is no need to collect ESI from the following sources:

                   a.       Deleted, slack, fragmented, or other data only accessible by forensics;

                   b.       Random access memory (RAM), temporary files, or other data difficult to

   preserve without disabling the operating system;

                   c.       On-line access data such as temporary internet files, history, cache,

   cookies, and the like;

                   d.       Back-up data that is duplicative of data that can be collected elsewhere;

   and

                   e.       Server, system, or network logs.




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             32.   Redactions. No redactions for relevance may be made within a produced

   document or ESI item. Any redactions shall be clearly indicated on the face of the document,

   with each redacted portion of the document stating that it has been redacted and the basis for the

   redaction, and a metadata field shall indicate that the document contains redactions and the basis

   for the redaction (e.g., “Privileged”). All redactions must be logged in a Privilege/Redaction Log,

   as described in Section V below. Where a responsive family of documents contains both

   redacted and non-redacted content, or both produced and withheld documents, the Parties shall

   produce the remainder of the non-redacted portions of the family of documents as TIFFs rather

   than natives, except for Excel spreadsheets which may be redacted in native form, and with the

   text/OCR corresponding to the non-redacted portions. Documents that sometimes do not render

   in a readable format to TIFF, such as Excel spreadsheets, may be redacted in native form as long

   as the Producing Party keeps a pristine, unredacted copy of the native file and identifies the

   natively redacted documents to the receiving party in the production cover letter or by way of a

   native redaction field. A document's status as redacted does not relieve the producing party from

   providing all of the metadata required herein. If modification of a native file is required for

   redaction purposes, metadata information associated with that file should remain unchanged,

   unless it also requires redaction.

             33.   Other Documents. All TIFF images of redacted native files shall be processed to

   show and reveal all hidden text, including track changes, comments, and hidden content in Word

   documents and speaker notes and hidden content in PowerPoint files. Where reasonably possible,

   any occurrences of date/time auto field items, including in headers and footers, will be removed

   and replaced with the term AUTODATE to prevent the current date from being printed. Email

   header information (e.g. date, subject line, etc.) should not be redacted unless it is independently




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   privileged. The production of a document in a redacted form does not affect the Parties’

   obligation to timely assert and substantiate the assertion of privilege over the content in a

   privilege/redaction log.

            34.    Color. The requesting party may request the reproduction of documents in color

   TIFF format, JPEG format, or in native format where color facilitates understanding of the

   document.

            35.    Load File Formats. ESI will be produced with a standard Concordance (*.dat)

   load file format and an image load file that is in .OPT format. The Concordance (*.dat) load file

   shall contain a relative path to the corresponding Native file, and be provided with UTF-8

   encoding.

            The data load file should use standard Concordance delimiters:

                         x    Comma - ¶ (ASCII 182);

                         x    Quote - þ (ASCII 254);

                         x    Newline - ® (ASCII174).

                         x    The first line of the .DAT file should contain the field names arranged

                              in the same order as the data is arranged in subsequent lines.

                         x    All date fields should be produced in mm/dd/yyyy format, if possible.

                              Date fields may be combined date/time fields

                         x    All produced attachments should sequentially follow the parent

                              Document/email.


            The image load file must be in standard Option (.OPT) format and must reference each

   TIFF file in the corresponding production, and the total number of TIFF files referenced in the

   load file must match the total number of image files in the production. The total number of

   Documents referenced in a production’s data load file should match the total number of



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   designated Document breaks in the corresponding image load file for that production. In any

   deliverable volume, documents should be organized in such a way that each folder in the volume

   contains 1000 files (each TIFF page or native file is a single file) as one file per folder.

                         x   Every image in the delivery volume should be cross-referenced in the

                             image load file.

                         x   The imageID key should be named the same as the Bates number of the

                             page.

                         x   Load files should not span across media (e.g., CDs, DVDs, hard drives,

                             etc.), i.e., a separate volume should be created for each piece of media

                            delivered.
             36.   Extracted Text and OCR. Each document, whether produced in Native or in

   TIFF format, and whether originally existing in electronic or in hard copy, shall be produced

   with extracted text or OCR (subject to the other provisions of this order), as described herein.

                   a.     Extracted Text (Emails, Unredacted Native ESI, and Natively Redacted

   Spreadsheets). All email, un-redacted ESI, and redacted spreadsheets produced as native files,

   should be provided with complete document-level extracted text files. Extracted text shall

   include all comments, track changes, and hidden content in Word documents and speaker’s notes

   and hidden content in PowerPoint files. Text extracted from emails shall include all header

   information that would be visible if the email was viewed in Outlook including: (1) the

   individuals to whom the communication was directed (“To”), (2) the author of the email

   communication (“From”), (3) who was copied and blind copied on such email (“CC” and

   “BCC”), (4) the subject line of the email (“RE” or “Subject”), (5) the date and time of the email,

   and (6) the names of any attachments.




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                   b.     OCR (Redacted Native ESI, Hard Copy Documents). In the event a

   document, other than natively redacted spreadsheets, e.g., Excel files, contains text that is to be

   redacted, Optical Character Recognition (“OCR”) text files should be provided for any un-

   redacted portions of the documents. Document-level OCR text files shall also be provided for all

   hard copy scanned documents subject to the caveat in paragraph 17, above. OCR software must

   be set to the highest quality setting for any previously unscanned paper documents, and

   reasonable quality control measures shall be used to ensure that the integrity of scanned copies of

   previously unscanned paper documents are preserved for OCR (e.g., pages are not angled or

   skewed, text is not blurred or obscured, etc.). Documents containing foreign language text must

   be OCR’d using the appropriate settings for that language, (e.g., OCR of German documents

   must use settings that properly capture umlauts and OCR of Asian language documents must

   properly capture the relevant Asian characters). Settings such as “auto-deskewing” and “auto-

   rotation” must be turned on during the OCR process to maximize text recognition on any given

   page.

                   c.     Format of Extracted Text and OCR. The extracted full text and/or OCR

   text for all deliverables should be in separate document-level, UTF-8 TXT files provided in a

   separate folder. The number of TXT files per folder should be limited to 1,000 files.

             37.   Exception Files. The Parties will use reasonable efforts and standard industry

   practices to address documents that present imaging or form production problems (including

   encrypted and/or protected files identified during the processing of ESI where the document

   appears to contain relevant content).




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   IV.       PROCESSING OF NON-PARTY DOCUMENTS

             38.   This ESI Protocol shall apply to any non-Party that produces documents in this

   action.

             39.   A Party that issues a non-Party subpoena (“Issuing Party”) must include a copy of

   this Order with the subpoena and request that the non-Party produce documents in accordance

   with the specifications set forth herein.

             40.   The Issuing Party is responsible for producing to all other Parties any document(s)

   obtained pursuant to a subpoena to any non-Party in the form in which the document(s) was/were

   produced by the non-Party. To the extent practical given the data volume and load time,

   productions by a non-Party should be produced by the Issuing Party to all other Parties within

   fourteen (14) calendar days of the non-Party’s production to the Issuing Party.

             41.   For the avoidance of doubt, nothing in this Order is intended to or should be

   interpreted as narrowing, expanding, or otherwise affecting the rights of the Parties or non-

   Parties to object to a subpoena.

   V.        PRIVILEGE/REDACTION LOGS

             42.   The Parties recognize that some documents may be redacted or withheld on the

   grounds of attorney-client privilege, work-product doctrine, or other similar protection

   (collectively, “privilege”). Absent further agreement by the parties, the Parties agree to produce a

   privilege/redaction log within 30 days of the first production, to the extent any documents were

   withheld/redacted on privilege grounds, and on a rolling basis 30 days after each production

   thereafter.

             43.   The rolling privilege/redaction logs from the Producing Party shall be cumulative

   and in a searchable/sortable Excel format. For each responsive document withheld or redacted




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   because of privilege, the Parties’ rolling privilege/ redaction logs shall provide the information

   required by Fed. R. Civ. P. 26, including the following non-exhaustive information:

                    a.      Custodian and/or source of the document (the name of the person(s) or

   non-custodial source from which the document was collected);

                    b.      Date of the document if available in the metadata or on the face of the

   document;

                    c.      Document Type (file extension or msg or similar indication of file type for

   email);

                    d.      Document Title (documents), so long as the disclosure would not reveal

   information itself privileged or protected; if the disclosure would reveal information itself

   privileged or protected, then the field shall indicate “Privileged;”

                    e.      Subject Line (email), so long as the disclosure would not reveal

   information itself privileged or protected; if the disclosure would reveal information itself

   privileged or protected, then the field shall indicate “Privileged;”

                    f.      For documents produced, but redacted on the ground of privilege, the

   starting and end Bates number and for other documents not produced, a numerical identifier;

                    g.      Author(s);

                    h.      All recipient(s), CC(s), BCC(s) (for e-mail and hard-copy communication

   such as letters and internal memoranda); and

                    i.      General description of the nature (e.g., letter, memorandum, handwritten

   notes), including any person identified is an attorney or an employee of any Defendants’ or

   Plaintiff’s legal department or outside counsel firm,4 and subject matter of the document


                                   
   4
       Names of counsel or counsel’s staff shall be designated with an asterisk.


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   sufficient to allow the receiving party to assess the claimed privilege and/or to allow the Court to

   rule upon the applicability of the claimed protection.

              44.   If, due to the number of privileged documents involved, creating a

   privilege/redaction log with the information noted above would create an undue burden, the

   parties will meet in good faith and discuss whether a categorical log or other method may be

   appropriate.

              45.   The parties stipulate that their respective privilege logs do not need to list

   privileged communications sent to or received from in-house or outside counsel regarding this

   above-captioned litigation, i.e., dated December 10, 2020 or later, and which do not include third

   parties.

              46.   The inadvertent or mistaken disclosure of any material in this action is not a

   waiver of the attorney-client privilege, work product doctrine or any other asserted privilege in

   any other federal or state proceeding, pursuant to Federal Rule of Evidence 502(d).

              47.   If any disputes arise concerning any privilege/redaction log, the Parties shall meet

   and confer to try to reach a mutually agreeable solution.

   VI.        MISCELLANEOUS PROVISIONS

              48.   Document Storage. During the pendency of this litigation, the Parties shall

   preserve the originals of all hard copy (to the extent it is available) and ESI documents produced

   to the opposing parties, and preserve the original native format version of any ESI produced in

   nonnative format. Each party reserves the right to request to inspect such documents of the

   opposing party or parties. If such request to inspect is denied, the party may seek relief from the

   Court. If a Party contends this provision is unduly burdensome or not proportional, the parties




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   shall meet-and-confer in good faith and present the Court with any disputed issues requiring

   resolution.

             49.     Preservation. The Parties shall have a continuing obligation pursuant to Fed. R.

   Civ. P. 26 to identify and preserve custodial and non-custodial data sources that may contain

   information that is relevant to the claims and defenses in this litigation.

             50.     Third Party Data. The Parties will meet and confer before serving any

   subpoenas in this matter on commercial e-mail providers, such as Google™ or Yahoo™, or any

   social media companies such as Facebook™ or Twitter™.

             51.     Effect of Order. The Parties’ agreement to this Order is without prejudice to the

   right of any Party to seek an order from the Court to rescind or amend this Order for good cause

   shown. Nothing in this Order abridges the rights of any person to seek judicial review or to

   pursue other appropriate judicial action with respect to any discovery ruling made by the Court

   in this matter.

             52.     Good Faith Compliance and Conferral Obligation. The Parties will make good

   faith efforts to comply with and resolve any differences concerning compliance with this Order.

   No Party may seek relief from the Court concerning compliance with this Order unless it has first

   conferred with the other Parties.

             53.     Encryption. To maximize the security of information in transit, any media or file

   sharing electronic document repository on which documents are produced must be encrypted.

   Production deliverables provided via File Transfer Protocol (“FTP”) shall be made available on a

   secured FTP connection. In such cases, the Parties shall transmit the encryption key or password

   to a requesting Party, under separate cover, contemporaneously with sending the encrypted

   media, or correspondence indicating the availability of the encrypted FTP deliverables.




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            54.   Modifications. This Order may be modified by a stipulation of the Parties or by

   the Court for good cause shown.

   VII. ESI LIAISONS
            55.   To promote transparency, communications, and cooperation between the Parties,

   the Parties shall designate e-discovery liaisons for purposes of meeting and conferring on ESI

   topics. As proposed by the Parties, the ESI liaison for Plaintiffs shall be Jessica Meeder of Fegan

   Scott, or her designee, and the ESI liaison for the NCAA shall be Chisara Ezie-Boncoeur at

   Barnes & Thornburg LLP, or her designees.



   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.



   DATED: December 1, 2021                   _____________________________________
                                                Attorneys for Plaintiffs



   DATED: 'HFHPEHU__________            _____________________________________
                                                  Attorneys for Defendant WKH
                                              National Collegiate Athletic Association




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                                              Appendix A

                           Fields to Exchange (where reasonably available)

                  FIELD NAME                   FIELD DESCRIPTION                   APPLICABLE
                                                                                   FILE TYPE(S)
       BEGBATES                        Beginning production number for a          Email, E-Doc
                                       given file/document                        and Other5
       ENDBATES                        Ending production number for a given       Email, E-Doc
                                       file/document                              and Other
       BEGATTACH                       Production number of first page of         Email, E-Doc
                                       parent                                     and Other
       ENDATTACH                       Production number of last page of last     Email, E-Doc
                                       attachment                                 and Other
       CUSTODIAN                       If the Producing Party’s vendor            Email, E-Doc
                                       maintains separate Custodian and           and Other
                                       Duplicate Custodian fields, this field will
                                       be populated with the person, shared file
                                       or other source from whom the original
                                       file was collected
       All CUSTODIAN                   If the Producing Party’s vendor             Email and E-Doc
                                       maintains separate Custodian and
                                       Duplicate Custodian fields, this field will
                                       be populated with the name of other
                                       custodians the Producing Party agreed to
                                       produce who had the file but where the
                                       file was eliminated through
                                       deduplication. If the Producing Party’s
                                       vendor does not maintain separate
                                       Custodian and Duplicate Custodian
                                       fields, this field will be populated with
                                       the names of all custodians the
                                       Producing Party agreed to produce who
                                       had the file
       FILEEXT                         File extension                              Email and E-Doc
       HASH                            MD5 Hash Value                              E-mail and E-
                                                                                   Doc
       SUBJECT                         E-mail subject                              E-mail
       DOCTITLE                        Title field for documents                   E-doc
       FROM                            Sender                                      E-mail
       TO                              Recipient                                   E-mail
       CC                              Copyee                                      E-mail
       BCC                             Blind Copyee                                E-mail
                                  
   5
       “Other” is defined as documents maintained in image file format or that were scanned from hard
   copy.


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                  FIELD NAME                  FIELD DESCRIPTION                     APPLICABLE
                                                                                    FILE TYPE(S)
       DATESENT             Date Sent & Time (MM/DD/YYYY                            E-mail
                            HH:MM)
       DATERECEIVED         Date Received & Time (MM/DD/YYYY                        E-mail
                            HH:MM)
       MESSAGE ID           Message ID field                                        E-mail
       EMAIL   CONVERSATION Field identifies e-mails within the same                E-mail
       INDEX                thread
       AUTHOR               Author                                                  E-Doc
       DATELASTMOD          Date modified & Time (MM/DD/YYYY                        E-Doc
                            HH:MM)
       DATECREATED          Date created & Time (MM/DD/YYYY                         E-Doc
                            HH:MM)
       DATELASTPRINTED      Date last printed & Time (MM/DD/YYY                     E-Doc
                            HH:MM)
       FILENAME             Original file name                                      E-Doc
       PAGE COUNT           Number of pages in document                             E-mail and E-
                                                                                    doc
       ATTACHMENT COUNT               Number of attachments to, or documents        E-mail and E-
                                      embedded in, an email or edoc                 doc
       ATTACHMENT TITLE               Title of all attachments
       APPLICATION                    Type of application used to generate the      E-mail and E-
                                      document                                      doc
       DOCUMENT CATEGORY              The category of document (Email, E-           E-mail and E-
                                      doc)                                          doc
       FILE SIZE                      The category of document (Email, E-           E-mail and E-
                                      doc)                                          doc
       ORIGINAL FOLDER PATH           The folder path from which the                E-mail and E-
                                      document was collected if it is feasible to   doc
                                      collect for a particular set of data
       ALL FOLDER PATHS               The locations where copies of the item        E-mail and E-
                                      were located at the time of collection        doc
       DOC EXTENSION                  The file extension of the document            E-mail and E-
                                                                                    doc
       REDACTED                       Identifies whether the document is            E-mail, E-doc
                                      redacted                                      and Other
       NATIVEFILE                     Path to native file as produced for Excel     Native
                                      spreadsheets and any other native files
                                      produced
       TEXTPATH                       Path to OCR or extracted text file            E-mail, E-Doc
                                                                                    and Other6
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   6
    A Producing Party may not OCR documents originally maintained in hard copy or in imaged file
   format if the expense is not justified and may produce them as they are kept in the ordinary course
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                  FIELD NAME                FIELD DESCRIPTION                   APPLICABLE
                                                                                FILE TYPE(S)
       TIMEZONE                     The time zone in which the documents       E-mail and E-
                                    were processed                             Doc
       CONFIDENTIALITY LEVEL        Level of confidentiality assigned          E-mail, E-Doc
                                    pursuant to the Protective Order entered   and Other
       PRODUCING PARTY              The name of the party producing the        E-mail, E-Doc
                                    documents                                  and Other
       LAST MODIFIED BY             Internal file property: the last person    E-Doc
                                    who modified the document
       HASHIDDENTEXT                Identification of hidden fields in the     E-Doc
                                    documents
       HASHIDDENSLIDES              Identification of hidden fields in the     E-Doc
                                    documents
       HASSPEAKERNOTES              Identification of hidden fields in the     E-Doc
                                    documents
       HASHIDDENROWS                Identification of hidden fields in the     E-Doc
                                    documents
       HASHIDDENCOLUMNS             Identification of hidden fields in the     E-Doc
                                    documents
       HASHIDDENWORKSHEETS          Identification of hidden fields in the     E-Doc
                                    documents




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   of business. In that circumstance, the Producing Party will identify the Bates numbers of the
   documents that have not had OCR applied and for which extracted text is not available in the
   production cover letter.


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